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 requirements of Fed. R. Crim. P. 1 l(b)(3). The parties understand that additional

 information relevant to sentencing may be developed and attributed to the

 Defendant for sentencing purposes.

                                      ALISON J. RAMSDELL
                                      United States Attorney


  10/22/2024
 Date                                 HEATHER KNOX
                                      Assistant United States Attorney
                                      515 9th Street #201
                                      Rapid City, SD 57701
                                      Telephone: (605)342-7822
                                      E-Mail: Heather.Knox@usdoj.gov




 Date                                 TAYLOR BLOOMGREN
                                      Defendant




 Date
                                                for Defendant




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